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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                 CRIMINAL ACTION NO. 4:05CR95-P-B


DANIEL IBARRA


                                              ORDER

       This cause is before the Court on defendant Daniel Ibarra’s Motion for Employment of

Private Investigator to Assist Defense [500]. The Court, having reviewed the motion and being

otherwise fully advised in the premises, finds as follows, to-wit:

       That the motion is not well-taken and should be denied inasmuch as the defendant’s

subsequent retention of private counsel refutes his representation that he lacks the ability to pay for

the services of an investigator himself.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that defendant Daniel Ibarra’s Motion

for Employment of Private Investigator to Assist Defense [500] is not well-taken and should be, and

hereby is, DENIED.

       SO ORDERED, this the 8th day of June, 2006.


                                                       /s/ W. Allen Pepper, Jr.
                                                       W. ALLEN PEPPER, JR.
                                                       UNITED STATES DISTRICT JUDGE
